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IN THE UNITED STATES DISTRICT COURT

DISTRICT OF MARYLAND
FRANK ALLAHMENSAH,
Plaintiff
V. : Case No.: 8:16-cv-01053-PX
LAW OFFICE OF PATRICK M, :

CONNELLY, B.C.
Defendants
STIPULATION OF DISMISSAL WITH PREJUDICE
Pursuant to Fed. R. Civ. P. 41, Plaintiff, through counsel, stipulates and requests the

Court to dismiss, with prejudice, his Complaint against Defendant Law Office of Patrick M.

 

 

 

 

Connelly, P.C.

Respectfully submitted,
LAW OFFICES OF MICHAEL LUPOLOVER, P.C. THE LAW OFFICES OF RONALD S. CANTER, LLC
/s/ Matthew T. Sheffield /s/ Matthew W_Fogleman
Matthew T. Sheffield Esq. Ronald S. Canter, Esquire, #94000
(signed by Matthew W. Fogleman with Matthew W. Fogleman, Esquire, #07240
permission of Matthew T. Sheffield) 200A Monroe Street, Suite 104
120 Sylvan Avenue, Suite 300 Rockville, Maryland 20850
Englewood Cliffs, New Jersey 07632 301.424.7490 (telephone) | 301.424.7470 (facsimiie)
201.461.0059 (telephone) |201.608.7116(facsimile) rcanter@roncanterllc.com (e-mail)
ms@lupoloverlaw.com (e-mail) mfogleman@roncanterllc.com (e-mail)
Attorney for Plaintiff Attorneys for Defendant

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APPROVED BY THE COURT, this 20 day of eran , 2017.

 

 

A
Paula Xinis, District Judge
